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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


CARETOLIVE,

                Plaintiff,                             Case No. 2:07-cv-729
                                                       JUDGE GREGORY L. FROST
         v.                                            Magistrate Judge Norah McCann King

ANDREW von ESCHENBACH, et al.,

                Defendants.


                                     OPINION AND ORDER

         This matter is before the Court on Plaintiff’s motion to dismiss the pending motion for

sanctions. (Doc. # 73.) Plaintiff argues that this case is on appeal and, therefore, this Court

lacks jurisdiction to decide the pending motion for sanctions. Plaintiff, however, is mistaken.

         The United States Court of Appeals for the Sixth Circuit has consistently held that the

trial court is in the best position to decide certain collateral matters such as sanctions, attorneys’

fees and costs, even while divested of jurisdiction over the substantive matters in a case. See

Phelan v. Bell, 8 F.3d 369, 372 (6th Cir. 1993); Val-Land Farms, Inc. v. Third National Bank in

Knoxville, 937 F.2d 1110, 1117 (6th Cir. 1991); Kallok v. Boardman Local School District Bd. of

Ed., 24 F. Appx. 496, 498 (6th Cir. 2001); AAA Venetian Blind Sales, Inc., v. Beaulieu of

America, Inc., Nos. 96-1108, 96-1844, 1997 U.S. App. LEXIS 22461, at *13 (6th Cir. Aug. 19,

1997).

         Indeed, despite the title “motion to dismiss,” most of Plaintiff’s motion sets forth

arguments in opposition to those contained in the pending motion for sanctions. However, the

motion for sanctions was filed on November 26, 2007 (Doc. # 66) leaving the date for opposing
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the motion weeks past. Moreover, this Court scheduled a non-oral hearing on January 18, 2008

(Doc. # 67) and in the Opinion and Order which granted Defendants summary judgment in this

case it specifically informed the parties that it would retain jurisdiction to decide the motion for

sanctions (Doc. # 69 at 28: “the Court retains jurisdiction over the pending motion for

sanctions”). Finally, Plaintiff submits no reason why this Court should extend the deadline date

which has already passed.

       Accordingly, the Court DENIES Plaintiff’s motion to dismiss. (Doc. # 73.)

       IT IS SO ORDERED.


                                               /s/ Gregory L. Frost
                                               GREGORY L. FROST
                                               UNITED STATES DISTRICT JUDGE




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